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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

OUYEINC LTD.,
                                                 Case No. 20 cv 3488
                         Plaintiff,

       v.

1Baaaai and et al.,

                         Defendants.



                        NOTICE OF DISMISSAL UNDER RULE 41(a)(1)


       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Ouyeinc Ltd.

(“Ouyeinc” or “Plaintiff”) hereby dismisses this action with prejudice pursuant to settlement as

to the following Defendants:

              Defendant Name                                       Line No.

                      Flameer                                          81

                      Pinktone                                        178

                Morning Glory                                         151

   Shenzhen Bluelans Network CO., LTD.                                193



DATED July 31, 2020                                 Respectfully submitted,

                                                    /s/ James A. Karamanis
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